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From:              Fabian, Sarah B (CIV)
To:                Jerry Wesevich; PeterMcGraw(CC-MAIN); Amanda Chisholm(ALP)
Cc:                Simon, Jeremy (USADC)
Subject:           M.G.U. v. Nielsen (No. 18-cv-1458)
Date:              Wednesday, June 27, 2018 9:35:00 AM


Jerry:

After considering the requests contained in your request for a TRO, Defendants provide the
following offer of information in response to those requests:

    ·       YOUR REQUEST: the complete address where each child is currently located
               o ORR is providing below the name of the facilities and the city in which they are
                   located. ORR is willing to provide you the address of each facility if you will
                   agree to enter a protective order in this case that would cover this information
                   (ORR can provide the information prior to entry of the protective order so long
                   as Plaintiffs will agree not to disclose the information in the interim).
                       § C.P.R.: Southwest Key Casa Antigua Shelter, San Benito, Texas
                       § WVG: Abbott House Shelter, Irvington, NY
                       § JVG: Abbott House Shelter, Irvington, NY
                       § GVG: Abbott House Shelter, Irvington, NY
                       § BYAF: Cayuga Home for Children, Transitional Foster Care, Auburn,
                           NY
    ·       YOUR REQUEST: the government’s most accurate estimate of the date that it
           anticipates reuniting each parent with each child
               o ORR is willing to provide you with the name and number for the case manager
                   for each child if you will agree to enter a protective order in this case that
                   would cover this information (ORR can provide the information prior to entry
                   of the protective order so long as Plaintiffs will agree not to disclose the
                   information in the interim).
               o The case manager is responsible for facilitating reunification. If an estimated
                   date is available, the case manager can provide that information. If no estimate
                   can be provided the case manager can provide information and updates
                   regarding the reunification process and the steps that need to be completed
                   prior to reunification. (Please provide the A# when calling the case manager,
                   for ease of access to information about each case)
    ·       YOUR REQUEST: a description of the setting where each child resides, whether
           home or institutional
               o The case manager can provide this information.
    ·       YOUR REQUEST: the name, age, and gender of each person primarily responsible
           for each child’s care
               o The case manager will not provide the name of individuals caring for the child,
                   but can provide general information about the individuals who are responsible
                   for caring for the children at each facility.
    ·       YOUR REQUEST: whether the child has suffered any accident or illness
               o ORR will provide the parent with any significant incident reports regarding an
                   accident or injury to the child that have been made or are made during the
                   pendency of litigation.
    ·       YOUR REQUEST: a description of each child’s activities during that day
               o The case manager can provide information about the activities and programs at
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                each facility, and can provide updates regarding a child’s participation in
                activities.
    ·    YOUR REQUEST: frequent and meaningful access to or communication with each
        child via telephone or video link.
            o ORR will facilitate such contact at least 2x/weekly ORR will facilitate contact
                more frequently when possible.

You requested daily updates regarding all of the requested information. ORR cannot commit
to providing all of this information on a daily basis, however the case managers are available
throughout the week to provide regular updates regarding this information, and are willing to
arrange regular calls with Plaintiffs to the best of their ability.

Please let me know if this information is sufficient to obviate the need for a TRO.

Best,
Sarah
 
 
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